 Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 1 of 26 Page ID #:1




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 8
                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11    JOSEPH BOUDRE, Individually and
      on Behalf of All Others Similarly    Case No.
12
      Situated,
13                                         CLASS ACTION COMPLAINT
                               Plaintiff,  FOR VIOLATION OF SECTIONS
14
                                           14(e) AND 20(a) OF THE
             v.
15                                         SECURITIES EXCHANGE ACT
      RESONANT INC., GEORGE B.             OF 1934
16    HOLMES, and MARTIN S.
      MCDERMUT,
17                                         JURY TRIAL DEMANDED
                               Defendants.
18
19
20         Plaintiff, Joseph Boudre (“Plaintiff”), on behalf of himself and all others
21 similarly situated, by his undersigned attorneys, alleges upon personal knowledge with
22 respect to himself, and upon information and belief based upon, inter alia, the
23 investigation of counsel as to all other allegations herein, as follows:
24                                NATURE OF THE CASE
25         1.    This is a stockholder class action by Plaintiff against Resonant Inc.
26 (“Resonant” or the “Company”), Resonant’s Chief Executive Officer, George B.
27 Holmes, and Resonant’s Chief Financial Officer, Martin S. McDermut (collectively
28                                       -1-
                               CLASS ACTION COMPLAINT
 Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 2 of 26 Page ID #:2




 1 referred to as the “Individual Defendants” and, together with Resonant, the
 2 “Defendants”) for their violations of Sections 14(e) and 20(a) of the Securities
 3 Exchange Act of 1934 (“Exchange Act”). Plaintiff’s claims arise in connection with
 4 the tender offer by PJ Cosmos Acquisition Company, Inc. (“Purchaser”), a wholly-
 5 owned subsidiary of Murata Electronics North America, Inc. (“Murata”), to purchase
 6 all outstanding shares of Resonant (“Tender Offer”). Murata is a subsidiary of Murata
 7 Manufacturing Co., Ltd. (“MMC”).
 8        2.    In 2019, Murata acquired an ownership stake in Resonant, and MMC
                                       1
 9 executed a Collaboration Agreement with Resonant that, among other things, provided
10 MMC with the exclusive right to the Company’s XBAR® technology for filters or
11 resonators for use in mobile communication devices until March 31, 2022 (discussed
12 further herein).
13        3.    On February 14, 2022, the Company entered into an Agreement and Plan
14 of Merger with Murata and Purchaser (“Merger Agreement”), whereby Purchaser was
15 to acquire all outstanding shares of the Company’s common stock for $4.50 in cash per
16 share (“Offer Price”). When the Merger Agreement was executed, Murata owned
17 4.1% of Resonant’s outstanding shares.
18        4.    On February 28, 2022, Defendants violated the above-referenced Sections
19 of the Exchange Act by authorizing the filing of a materially false and misleading
20 Schedule    14D-9    Solicitation/Recommendation     Statement   (“Recommendation
                               2
21 Statement”) with the SEC.
22        5.    The Recommendation Statement provided a materially false and
23 misleading valuation picture for Resonant, by disclosing two unreasonably low sets of
24 financial projections (i.e., Case One and Case Two Projections) that did not reflect
25
   1 All capitalized terms not defined herein have the same meanings as set forth in the
26 Recommendation Statement (defined below).
27 2 Resonant Inc. Solicitation/Recommendation Statement (Schedule 14D-9) (February
   28, 2022), tm227702-2_sc14d9 - none - 9.9219404s (sec.gov).
28                                          -2-
                              CLASS ACTION COMPLAINT
 Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 3 of 26 Page ID #:3




 1 management’s true belief in the value and prospects of the Company. Both sets of
 2 projections were then utilized by Resonant’s financial advisor, Centerview Partners
 3 LLC (“Centerview”) in rendering the fairness opinion in connection with the Tender
 4 Offer.
 5          6.   On December 15, 2021, management presented to the Company’s board
 6 of directors (“Board”) the Case One Projections (i.e., base case) and the Case Two
 7 Projections (i.e., upside case) (together, the “Fairness Projections”). The Case One
 8 Projections were based upon the assumption that Murata remained the Company’s only
 9 significant technology development and licensing partner. The Case Two Projections
10 assumed that following expiration of exclusivity with MMC, the Company would also
11 have multiple other technology development and licensing partners in addition to
12 Murata. However, the Case One Projections, and even worse the upside Case Two
13 Projections, were significantly lower than what management truly believed the
14 financial prospects of Resonant to be. Throughout the entire year leading up to
15 presentation of the Fairness Projections, Defendant Holmes, with Defendant
16 McDermut always in attendance, publicly touted that Resonant’s partnership with
17 Murata alone would likely generate over $100 million in annual revenue for the
18 Company. Yet, the Fairness Projections do not even come close to forecasting this $100
19 million annual revenue figure.
20          7.   Despite genuinely believing that the Company’s value and financial
21 prospects exceeded the numbers reflected in the Fairness Projections, Defendants
22 created the unreasonably low Fairness Projections to justify the inadequate Offer Price
23 from Defendant Holmes’ favorite shareholder and partner, Murata. In selling Resonant,
24 Defendants Holmes and McDermut chose to abandon the Company’s stand-alone plan
25 at the heels of expiration of exclusivity with MMC, despite the fact that Resonant was
26 set to experience significant growth, in order to receive golden parachute compensation
27 and obtain employment with their preferred merger partner, Murata.
28                                      -3-
                              CLASS ACTION COMPLAINT
 Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 4 of 26 Page ID #:4




 1         8.    The Tender Offer expired at one minute following 11:59 p.m., New
 2 York City time, on March 25, 2022 (“Expiration Time”), and Resonant shareholders
 3 were cashed out of their shares at the inadequate Offer Price. On March 28, 2022, the
 4 Tender Offer was completed pursuant to the terms of the Merger Agreement. Purchaser
 5 merged with and into Resonant, with the Company continuing as the surviving
 6 corporation and a wholly owned subsidiary of Murata.
 7         9.    For these reasons and as set forth in detail herein, Plaintiff and the Class
 8 (defined herein) seek to recover damages resulting from the Defendants’ violations of
 9 the Exchange Act.
10                             JURISDICTION AND VENUE
11         10.   The claims asserted herein arise under Sections 14(e) and 20(a) of the
12 Exchange Act, 15 U.S.C. §78n. The Court has subject matter jurisdiction pursuant to
13 Section 27 of the Exchange Act, 15 U.S.C. §78aa, and 28 U.S.C. §1331.
14         11.   This Court has personal jurisdiction over all of the Defendants because
15 each is either a corporation that conducts business in and maintains operations in this
16 District, or is an individual who either is present in this District for jurisdictional
17 purposes or has sufficient minimum contacts with this District so as to render the
18 exercise of jurisdiction by this Court permissible under traditional notions of fair play
19 and substantial justice. Moreover, “[w]here a federal statute such as Section 27 of the
20 [Exchange] Act confers nationwide service of process, the question becomes whether
21 the party has sufficient contacts with the United States, not any particular state.” Sec.
22 Inv’r Prot. Corp. v. Vigman, 764 F.2d 1309, 1315 (9th Cir. 1985). “[S]o long as a
23 defendant has minimum contacts with the United States, Section 27 of the [Exchange]
24 Act confers personal jurisdiction over the defendant in any federal district court.” Id.
25 at 1316.
26         12.   Venue is proper in the Central District of California under Section 27 of
27 the Exchange Act, 15 U.S.C. §78aa, as well as pursuant to 28 U.S.C. §1391, because:
28                                       -4-
                               CLASS ACTION COMPLAINT
 Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 5 of 26 Page ID #:5




 1 (i) Resonant maintains a significant business presence in this District, including
 2 facilities, offices, and laboratory space; (ii) each Defendant transacted business in this
 3 District; and (iii) a substantial part of the events or omissions giving rise to Plaintiff’s
 4 claims occurred in this District. Moreover, up until October 2020, Resonant maintained
 5 its principal executive offices in this District.
 6                                          PARTIES
 7         13.   Plaintiff was, at all relevant times, a shareholder of Resonant.
 8         14.   Defendant Resonant Inc. (previously defined as “Resonant” or the
 9 “Company”) is incorporated under the laws of Delaware with principal executive
10 offices located at 10900 Stonelake Blvd., Austin, TX 78759. The Company maintains
11 facilities in Goleta and Burlingame, California where the majority of its engineering
12 employees work. Resonant is a late-stage development company that designs and
13 develops filters for radio frequency (RF) and front-ends used in the mobile device,
14 automotive, medical, internet-of-things, and related industries in Japan, China, and
15 internationally. Resonant uses Infinite Synthesized Networks technology, a software
16 platform to configure and connect resonators that are building blocks of RF filters. The
17 Company develops a series of single-band designs for frequency bands; and
18 multiplexer filter designs for two or more bands to address the carrier aggregation
19 requirements; and XBAR, a technology for mobile and non-mobile applications,
20 including 5G, WiFi, and Ultra-WideBand applications. The Company’s common stock
21 traded on the Nasdaq under the ticker symbol “RESN.”
22         15.   Individual Defendant George B. Holmes was, at all relevant times, a
23 director of the Company, Chairman of the Board, President, and Chief Executive
24 Officer. Defendant Holmes was part of the Special Committee and the Strategic
25 Advisory Committee formed by the Board in connection with the sales process. Holmes
26 was authorized to receive notices and communications on behalf of Resonant, which
27 was identified as the “person” filing the Recommendation Statement.
28                                        -5-
                                CLASS ACTION COMPLAINT
 Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 6 of 26 Page ID #:6




 1        16.    Individual Defendant Martin S. McDermut was, at all relevant times, the
 2 Chief Financial Officer of the Company. Defendant McDermut signed the
 3 Recommendation Statement in his capacity as Chief Financial Officer and certified that
 4 the information set forth therein was true, complete and correct.
 5        17.    The Individual Defendants identified in paragraphs 15 and 16 are
 6 collectively referred to herein as the “Individual Defendants,” and together with
 7 Resonant, the “Defendants.”
 8                             RELEVANT NON-PARTIES
 9        18.    Michael J. Fox was, at all relevant times, a director of the Company. Fox
10 was part of the Special Committee and the Strategic Advisory Committee formed by
11 the Board in connection with the sales process.
12        19.    Rubén Caballero was, at all relevant times, a director of the Company.
13        20.    Alan B. Howe was, at all relevant times, a director of the Company. Howe
14 was part of the Special Committee and the Strategic Advisory Committee formed by
15 the Board in connection with the sales process.
16        21.    Jack H. Jacobs was, at all relevant times, a director of the Company.
17        22.    Joshua Jacobs was, at all relevant times, a director of the Company.
18        23.    Jean F. Rankin was, at all relevant times, a director of the Company.
19 Rankin was part of the Special Committee and the Strategic Advisory Committee
20 formed by the Board in connection with the sales process.
21        24.    Robert Tirva was, at all relevant times, a director of the Company. Tirva
22 was part of the Special Committee and the Strategic Advisory Committee formed by
23 the Board in connection with the sales process.
24        25.    Defendant Holmes and the individuals identified in paragraphs 18 through
25 24 collectively comprised the Company’s Board at all relevant times.
26        26.    Murata Electronics North America, Inc. (previously defined as “Murata”)
27 manufactures electrical components. Murata offers capacitors, noise suppression,
28                                      -6-
                              CLASS ACTION COMPLAINT
 Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 7 of 26 Page ID #:7




 1 filters, inducftors, resistors, wireless connectivity platforms, timing, sensors,
 2 thermistors, and power devices. Murata serves customers worldwide.
 3        27.   Murata Manufacturing Co., Ltd. (previously defined as “MMC”) is
 4 Murata’s parent and designs, manufactures, and sells electronic components and
 5 related products in Japan and internationally. MMC operates through Components,
 6 Modules, and Others segments. It offers capacitors, inductors, noise suppression
 7 products/EMI suppression filters/ESD protection devices, resistors, thermistors,
 8 sensors, timing devices, quartz devices, sound components, power products, batteries,
 9 micro mechatronics, RFID devices, matching devices, baluns, couplers, filters, phase
10 shifters, RF switches, front-end modules, SAW components, connectors, antennas,
11 connectivity modules, wireless connectivity platforms, ionizers/active oxygen
12 modules, and digital panel meters. MMC provides its products for use in medical and
13 healthcare equipment, mobile communications, industrial equipment, white goods,
14 business machines, personal computers, and AV equipment, as well as smart home,
15 automotive, network, data center, lighting, security and safety, and AI speaker and
16 hearable applications.
17                          SUBSTANTIVE ALLEGATIONS
18        A.    Relationship Between Resonant, MMC, and Murata
19        28.   In the first half of 2019, at the heels of Resonant’s invention of the
20 XBAR® filter technology, Resonant sought a development partner to assist in the
21 product’s commercialization. As a result, Murata and Resonant executed a Purchase
22 Agreement, and Murata’s parent, MMC entered into a Collaboration Agreement with
23 Resonant.
24        29.   On July 31, 2019, Murata and Resonant executed a Purchase Agreement
25 by which Murata acquired 8.5% of the Company’s outstanding shares. Immediately
26 prior to execution of the Merger Agreement, Murata owned 4.1% of Resonant’s
27 outstanding shares.
28                                     -7-
                             CLASS ACTION COMPLAINT
 Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 8 of 26 Page ID #:8




 1        30.    On September 30, 2019, MMC and Resonant entered into the
 2 Collaboration Agreement on the development of proprietary circuit designs using
 3 Resonant’s XBAR® technology, and Resonant licensed rights for products in four
 4 specific radio frequency bands to MMC. For rights to the design, MMC agreed to pay
 5 Resonant up to $9.0 million in pre-paid royalties and other fees, of which $4.5 million
 6 has been paid (as of filing of the Recommendation Statement). Pursuant to the
 7 Collaboration Agreement, MMC had the exclusive right to Resonant’s XBAR®
 8 technology for filters or resonators for use in mobile communication devices, which
 9 expired on March 31, 2022. Suspiciously, the Merger Agreement was executed right
10 before expiration of MMC’s exclusive right to the XBAR® technology.
11        31.    Two years later, on September 30, 2021, MMC and Resonant expanded
12 their Collaboration Agreement through an Addendum that provided for the
13 development of XBAR®-based proprietary circuit designs for up to four additional
14 radio frequency bands (i.e., eight total bands). For rights to designs in these four
15 additional bands, MMC agreed to pay Resonant a minimum of $4.0 million and up to
16 an aggregate of between $8.0 million and $36.0 million in pre-paid royalties and other
17 fees, with the amount of the aggregate payments determined based on the complexity
18 of the designs selected by MMC for development.
19        B.     Background of the Process Leading Up to the Tender Offer
20        32.    On September 20, 2021, just days before MMC and Resonant executed
21 the Addendum to the Collaboration Agreement, two MMC representatives, Hiroyuki
22 Niwa, Senior Manager of Corporate Strategy Section of MMC, and Takaki Murata,
23 Director of RF Device Division of MMC, had discussions with Defendant Holmes
24 regarding Murata’s interest in acquiring Resonant.
25        33.    On October 12, 2021, days after a follow-up call between Defendant
26 Holmes and Mr. Niwa, Murata submitted an all-cash proposal to acquire Resonant at
27
28                                      -8-
                              CLASS ACTION COMPLAINT
 Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 9 of 26 Page ID #:9




 1 $4.00 per share, subject to a period of exclusivity for due diligence and other
 2 negotiations.
 3         34.   The very next day, the Board met to consider Murata’s proposal with
 4 management and the Company’s legal counsel, Stubbs Alderton & Markiles, LLP
 5 (“Stubbs Alderton”) present. The Board determined that Murata’s proposal
 6 undervalued the Company, yet the Board still proceeded to discuss “engaging in a sales
 7 process relative to other opportunities available to Resonant, the manner of conducting,
 8 and timing of, a sales process, valuation, business risks and other parties that could
 9 potentially be interested in acquiring Resonant.” The Board even formed a Special
10 Committee that included Defendant Holmes to interview potential financial advisors
11 for a possible sales process. In other words, the Board, led by Defendant Holmes, was
12 quick to abandon Resonant’s stand-alone plan and initiate a sales process the second
13 Murata expressed interest. Indeed, initiation of the sales process was meant to disguise
14 what Defendant Holmes knew from Murata’s initial outreach to him, that he was going
15 to sell the Company to his preferred shareholder and partner, Murata.
16         35.   On November 5, 2021, the Board met again with Stubbs Alderton present
17 to discuss updates on the search for a financial advisor and management’s recent
18 conversations with Murata. During the meeting, Defendant Holmes mentioned that he
19 was having dinner with Mr. Murata to discuss the existing Collaboration Agreement.
20         36.   At the November 9th meeting, the Board approved Centerview as
21 Resonant’s financial advisor in connection with the sales process.3 Moreover, the
22 Board decided to limit bidder outreach to only strategic parties, for pretextual reasons.
23 The Board, led by Defendant Holmes, really wanted to limit outreach because the
24 Individual Defendants knew they wanted to sell the Company to Murata. The
25 Individual Defendants knew that engaging with solely strategic parties raises a host of
26 complicating factors, given the confidentiality concerns that exist because of the need
27
     3 Centerview was formally retained by the Company on November 15, 2021.
28                                       -9-
                               CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 10 of 26 Page ID #:10




 1 to share proprietary information with potential competitors. Defendants also knew that
 2 Murata had a significant advantage over any other interested strategic parties, given its
 3 preexisting relationship with the Company and its in-depth knowledge of the
 4 Company’s products and business.
 5         37.    From November 2021 through January 2022, the Board directed
 6 Centerview to hold discussions with 11 approved parties (including Murata), regarding
 7 interest in a transaction with Resonant. Of the 11 parties, five indicated interest in
 8 continuing discussions (i.e., Murata, Company A, Company B, Company C, and
 9 Company D). At different times during this period, Resonant executed non-disclosure
10 agreements (“NDAs”) with Murata, Company A, and Company B, and provided them
11 with access to Resonant’s virtual data room. Each one of these NDAs contained (or
12 were amended to add) standstill provisions.
13         38.    On December 6, 2021, the Board met and authorized the engagement of
14 Stifel, Nicolaus & Company, Incorporated (“Stifel”) as financial advisor to the sales
15 process in addition to Centerview, and on January 24, 2022, Stifel was formally
16 engaged. Further, the Board expanded the Special Committee’s role to now oversee
17 the sales process, renaming it the Strategic Advisory Committee (which again included
18 Defendant Holmes).
19         39.    Then, on December 9, 2021, Murata submitted a revised all-cash proposal
20 to acquire the Company for $4.20 per share, and requested exclusivity to negotiate the
21 transaction.
22         40.    In planning for a sales process, management, led by Individual Defendants
23 McDermut and Holmes, prepared, for the first time, the Company’s long-range
24 financial projections for 2022-2026 (i.e., the Fairness Projections).
25         41.    Subsequently, on December 15, 2021, senior management presented the
26 Fairness Projections to the Board and Stubbs Alderton. And in allowing management
27 to present the downwardly-revised Fairness Projections to the Board, Defendant
28                                      - 10 -
                               CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 11 of 26 Page ID #:11




 1 Holmes misled the entire Board because he knew that the Fairness Projections did not
 2 reflect management’s true belief of the Company’s value and prospects. Thereafter, the
 3 Board, relying on Defendant Holmes’ and management’s expertise, approved the
 4 materially false and misleading Fairness Projections. The Fairness Projections were
 5 then provided to bidders in the virtual data room, including Murata. Bidders were not
 6 informed that “one case was more likely to be achieved than the other case.”
 7         42.   On January 3, 2022, Company A and Resonant amended their existing
 8 NDA, to expand the scope to cover a potential acquisition of Resonant and to include
 9 a 12-month standstill provision.
10         43.   On January 4, 2022, Centerview informed Murata’s financial advisor,
11 Mizuho Securities USA LLC (“Mizuho”) that “it had spoken with several potential
12 buyers on behalf of Resonant.” However, the Recommendation Statement does not
13 indicate whether Centerview provided the other bidders with this same insight.
14 Seemingly in response, the following day, Mizuho informed Centerview of Murata’s
15 desire for a greater level of engagement and acceleration of the sales process.
16         44.   On January 6, 2022, Resonant retained Proskauer Rose LLP (“Proskauer”)
17 as co-counsel to Stubbs Alderton in connection with the sales process.
18         45.   On January 7, 2022, in what appears to be a direct response to Murata’s
19 request for acceleration of the sales process, Centerview provided process letters to the
20 three parties that executed NDAs (i.e., Murata, Company A, and Company B),
21 requesting that acquisition proposals be submitted to Resonant by January 25th. The
22 Company appeased Murata by accelerating the sales process, because the Individual
23 Defendants wanted to sell the Company to Murata.
24         46.   On January 11, 2022, Company C was given publicly-available
25 information in response to its diligence requests, but was informed by Resonant that it
26 must execute an NDA before being granted access to additional information in the
27 virtual data room.
28                                      - 11 -
                               CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 12 of 26 Page ID #:12




 1         47.    On January 12, 2022, three months after Murata submitted its first
 2 acquisition proposal, Murata and the Company finally executed an NDA in addition to
 3 the existing confidentiality obligations from the parties’ commercial relationship. That
 4 same day, Murata was provided with full access to the Company’s virtual data room.
 5 It is unclear why it took so long for the parties to execute an NDA applicable to the
 6 sales process.
 7         48.    On January 14, 2022, the Board met with senior management and
 8 representatives of Stubbs Alderton to approve Resonant’s 2022 annual operating plan,
 9 and to receive an update from Defendant Holmes regarding the sales process.
10         49.    On January 20, 2022, Company C expressed interest in receiving the
11 additional diligence materials mentioned by Resonant, and provided Centerview with
12 a proposed NDA. The following day, Centerview provided Company C with edits to
13 the NDA, along with an additional agreement containing standstill provisions.
14         50.    On January 25, 2022, Murata submitted the same bid to acquire Resonant
15 for $4.20 per share in cash, but did not request exclusivity.
16         51.    On January 28, 2022, the Board held a meeting with senior management,
17 and with representatives of Stubbs Alderton, Proskauer, and Centerview present.
18 During the meeting, it was noted that Company C and D were still interested in a
19 transaction but had not yet executed NDAs. As Defendants knew, engaging with
20 Company C and D would be a slow process given the confidentiality issues at stake. In
21 the interim, Murata was able to move towards finalizing its acquisition, without
22 competition.
23         52.    On January 30, 2022, the Board again met with senior management and
24 representatives of Centerview, Stubbs Alderton, and Proskauer to discuss lessons from
25 the sales process regarding “the commercialization of Resonant’s technology and the
26 viability of continuing as a stand-alone company.” Notably, this was discussed well-
27 after the Fairness Projections were prepared and presented to the Board.
28                                      - 12 -
                               CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 13 of 26 Page ID #:13




 1        53.    Later that night, Murata communicated its best and final offer to acquire
 2 Resonant at $4.50 in cash per share, conditioned on a period of exclusivity. The Board
 3 decided to enter into exclusivity with Murata, instead of further engaging with
 4 Company C or D to solicit a higher acquisition proposal. This was because Murata was
 5 always the Defendants’ preferred acquirer.
 6        54.    On February 2, 2022, Murata and Resonant executed an exclusivity
 7 agreement, providing for a period of exclusivity through February 8th, which would
 8 automatically extend to February 15th, so long as Murata continued to negotiate in
 9 good-faith.
10        55.    Thereafter, the Board met on February 11, 2022, with senior management,
11 Centerview, Stubbs Alderton, and Proskauer all present. Centerview informed the
12 Board that on February 8th, Company C informed Centerview of its willingness to enter
13 into a confidentiality agreement and standstill with Resonant. However, after
14 discussions with Stubbs Alderton and Proskauer, Centerview decided not to respond
15 due to the Company’s exclusivity agreement with Murata.
16        56.    On February 14, 2022, the Board again met with senior management,
17 Stubbs Alderton, Proskauer, and Centerview, and reviewed the terms of the proposed
18 Merger Agreement. In addition, Centerview reviewed its financial analyses that were
19 based upon the unjustifiably low Fairness Projections that the Individual Defendants
20 knew did not accurately reflect the Company’s value and prospects. Utilizing those
21 unreasonably low projections, Centerview deemed the inadequate Offer Price fair. The
22 Board then unanimously approved the Merger Agreement.
23        57.    Indeed, Defendants Holmes and McDermut deceived the Board about
24 what they and the rest of management truly believed the value of Resonant was at the
25 time. The Individual Defendants allowed the Board to rely on a fairness opinion that
26 was based upon the Fairness Projections that Defendants knew were materially false
27 and misleading and did not reflect the Company’s true value and financial prospects.
28                                     - 13 -
                              CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 14 of 26 Page ID #:14




 1        58.   In addition to obtaining a transaction with their preferred partner, through
 2 the Tender Offer, Defendant Holmes is set to receive over $3 million in Golden
 3 Parachute compensation, and Defendant McDermut is set to receive just under $1.5
 4 million, as shown below:
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11        59.   Moreover, in addition to the financial benefits that came with the Tender

12 Offer, Defendants Holmes and McDermut also received post-close employment with
13 Murata.
          C.   The Fairness Projections Reflect Significantly Lower Revenue
14             Figures Than Those Publicly Touted by Defendants
15       60. As mentioned above, on December 15, 2021, management presented the
16 Fairness Projections to the Board. The Case One Projections were based on Murata
17 remaining the Company’s only significant technology development and licensing
18 partner during the projections period. The Case Two Projections assumed that in
19 addition to Murata, the Company would also have multiple other significant technology
20 development and licensing partners during the projections period. 4 Further, the Case
21 Two Projections reflect the following differences to the Case One Projections:
22              • An increase in market share for the Company’s filter designs; and
23
24
25
   4 Accounting for the fact that MMC’s exclusive right to Resonant’s XBAR®
26 technology for filters or resonators for use in mobile communication devices would
27 expire on March 31, 2022.
28                                     - 14 -
                              CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 15 of 26 Page ID #:15




 1               • An increase from 7% to 10% in the assumed royalty rate for the license
 2                  of the Company’s filter designs.
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15         61.   The Individual Defendants, and then the Board, approved the Fairness
16 Projections for use by Centerview in rendering its fairness opinion in connection with
17 the Tender Offer.
18         62.   However, neither set of projections—even the purported “upside case”—
19 came close to reflecting Defendants’ true belief as to the Company’s value and
20 prospects, as publicly touted by Defendant Holmes throughout the year leading up to
21 creation of the Fairness Projections. Indeed, during Resonant’s final five earnings calls
22 spanning from November 11, 2020, to November 10, 2021, each of which Defendant
23 McDermut attended, Defendant Holmes consistently stated that Murata’s partnership
24 with Resonant alone had the ability to generate over $100 million in annual revenue
25 for Resonant. The relevant excerpts of Defendant Holmes’ statements from the last five
26 earnings calls for Resonant are shown below:
27
28                                      - 15 -
                               CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 16 of 26 Page ID #:16




 1       Q3 2020 Earnings Call (November 11, 2020): “I should also highlight
         that our initial XBAR customer has the market dominance to represent
 2       a market potential of over $100 million in annual revenue for Resonant.
 3       We’re feeling really good about the progress and validation we’re getting
         from the 5G market. The opportunities and non-mobile that we are
 4       engaged with for Wi-Fi and infrastructure applications are focused keenly
 5       on XBAR’s ability to deliver the performance necessary at high frequency
         and wide bandwidth.”
 6
         Q4 2020 Earnings Call (March 15, 2021): “This partner alone could
 7       represent a potential of over a $100 million in annual revenue for
         Resonant. While that seems like a big step from where we are today, it
 8
         becomes clear when observing our partner’s position in the industry. The
 9       top seven filter manufacturer controlled over 90% of the market for filters
10       and duplexers, our partner has the largest market share in both categories,
         controlling 37% of the filter market and 32% of the duplexer market. Their
11       filter market share is bigger than the second and third largest players
12       combined. Further, our partner has established relationships with some of
         the world’s largest handset OEMs which allows us to leverage their
13       expertise to bring XBAR into the market versus doing it ourselves.”
14       Q1 2021 Earnings Call (May 12, 2021): “A few key facts are as follows:
         98% of the market for filters and duplexers are controlled by the Top 7
15
         filter manufacturers. Our partner has the largest market share in both
16       categories, controlling 37% of the filter market and 32% of duplexer
         market. Their filter market share is bigger than the second and third largest
17
         filter players combined. Further, our partner has established relationships
18       with some of the world’s largest OEMs which allows us to leverage their
         expertise to bring XBAR into the market versus doing it ourselves. Given
19
         these market dynamics, this partner alone represents a potential of over
20       $100 million of annual revenue for Resonant.”
21       Q2 2021 Earnings Call (August 11, 2021): “They are also the largest filter
         supplier by a significant margin as evidenced by their filter market share
22       being larger than the second and third largest players combined. By
23       leveraging our partners’ established relationships with the world’s
         largest handset OEMs, we expect XBAR technologies to penetrate a large
24
         portion of the market. This partnership alone represents the potential for
25       over $100 million in annual revenue for Resonant.”
26
27
28                                    - 16 -
                             CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 17 of 26 Page ID #:17




 1        Q3 2021 Earnings Call (November 10, 2021)5: “Our partnership was
          initiated after demonstrating XBAR’s unique ability to dramatically
 2        improve RF filter performance for next generation wireless networks,
 3        while also accelerating their ability to deliver these high performance
          products to the market. This is a tremendous validation from the company
 4        that holds the leading market share position by a considerable margin. To
 5        be specific, they control about 36% of the filter market, and 33% of the
          duplexer market, which is more market share than the second and third
 6        largest players combined. If we continue to expand our agreement with
 7        this partner by adding additional design contracts, we believe this
          partnership could potentially increase to $100 million annual revenue
 8        opportunities for Resonant when 5G and Wi-Fi 6 reach the full scale
 9        deployments.”

10        63.    Indeed, the Case One Projections, representing the same scenario that
11 Defendant Holmes describes in the earnings calls—where Murata is Resonant’s only
12 significant partner—does not come close to forecasting this $100 million revenue
13 figure. In fact, the highest annual revenue forecasted by the Case One Projections is
14 $48.7 million in 2026, which is less than half of the $100 million figure repeatedly
15 touted by Defendant Holmes.
16       64. Worse, not even the “upside” Case Two Projections—that assumed the
17 Company would have multiple significant technology development and licensing
18 partners in addition to Murata—reached this $100 million revenue figure. The highest
19 revenue figure forecasted by the Case Two Projections was only $96.6 million in 2026.
20       65. Accordingly, had the Fairness Projections reflected Defendants’ true
21 belief in the Company’s value and prospects, as publicly touted throughout the year
22 leading up to creation of the Fairness Projections, then the Fairness Projections would
23 have been significantly higher. Defendants knew that the Fairness Projections did not
24 accurately portray the Company’s value and prospects, but nevertheless caused the
25 materially misleading projections and valuations derived from those projections to be
26
27 5 This Earnings Call occurred only one month prior to management’s presentation of
   the Fairness Projections to the Board.
28                                        - 17 -
                              CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 18 of 26 Page ID #:18




 1 disseminated to shareholders in order to solicit their approval of the unfair Tender
 2 Offer.
 3          D.    The Defendants’ Materially False and Misleading Statements in the
                  Recommendation Statement
 4
            66.   Defendants knowingly disseminated the materially false and misleading
 5
     Recommendation Statement to solicit Resonant shareholders to tender their shares in
 6
     connection with the Tender Offer. Defendants made materially false and misleading
 7
     statements including: (i) the Fairness Projections; (ii) the valuation ranges Centerview
 8
     derived from the misleadingly low Fairness Projections; and (iii) statements
 9
     mischaracterizing the Fairness Projections as “reasonable” when Defendants knew
10
     they did not reasonably reflect their best estimate regarding the Company’s value and
11
     prospects.
12
                     i. The Fairness Projections
13
            67.   The Recommendation Statement disseminated the materially false and
14
     misleading Fairness Projections with revenue forecasts that were significantly lower
15
     than management’s genuine belief regarding the Company’s prospects, as shown
16
     above. Throughout the year leading up to management’s presentation of the Fairness
17
     Projections and as recent as one month prior (i.e., Q3 2021 Earnings Call), Defendants
18
     publicly touted that Resonant’s partnership with Murata alone could generate over
19
     $100 million in annual revenue for Resonant. Clearly, Defendant Holmes making the
20
     same specific statement with the same specific revenue figure in each of the
21
     Company’s final five earnings calls indicates that this was what Defendants genuinely
22
     believed was Resonant’s future revenue potential.
23
            68.   Thus, Defendants knowingly caused preparation of and/or approved the
24
     Fairness Projections that contained significantly lower revenue forecasts than what
25
     they genuinely believed the Company would generate. Indeed, in Defendant Holmes
26
     allowing the Board to approve the Fairness Projections—that he knew did not reflect
27
28                                       - 18 -
                                CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 19 of 26 Page ID #:19




 1 his or management’s belief—for use by Centerview and for inclusion in the
 2 Recommendation Statement, he misled his own Board and Resonant shareholders.
 3 Moreover, Defendant McDermut, who as CFO was meaningfully involved in the
 4 preparation of the Fairness Projections, and who signed the Recommendation
 5 Statement, misled shareholders because he too knew that the Fairness Projections did
 6 not represent his or management’s true belief as to Resonant’s value and prospects.
 7         69.   Defendants Holmes and McDermut caused the Fairness Projections to
 8 reflect numbers far below their genuine expectations for the Company’s future
 9 financial performance.
10        70.    In sum, the Fairness Projections were materially false and misleading, and
11 misled Resonant’s shareholders with respect to the purported fairness of the Offer
12 Price, the Company’s future financial prospects, and the inherent value of their shares.
13                  ii. The Valuation Ranges Derived by Centerview
14        71.    As disclosed in the Recommendation Statement, Centerview relied upon
15 the Fairness Projections in deriving its financial analyses for the Tender Offer. The
16 financial analyses yielded valuation ranges for Resonant that served as a comparative
17 tool to assess the fairness of the Offer Price. However, given that the Fairness
18 Projections themselves were materially false and misleading (as explained above), this
19 made the valuation ranges derived by Centerview and disclosed in the
20 Recommendation Statement materially false and misleading as well. Had the Fairness
21 Projections reflected management’s true belief regarding the Company’s revenue
22 forecasts and financial prospects, then the Fairness Projections would have been
23 significantly higher, meaning that the valuation ranges would have been higher as well.
24        72.    Accordingly, the Company’s valuation ranges were materially false and
25 misleading, and misled Resonant’s shareholders as to the purported fairness of the
26 Offer Price and the actual value of their shares.
27
28                                      - 19 -
                               CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 20 of 26 Page ID #:20




 1                  iii. Management’s Assumptions Regarding the Derivation of the
                         Fairness Projections
 2
           73.    The Recommendation Statement states that “[i]n preparing the Case One
 3
     Projections, management made certain assumptions that it believed to be reasonable at
 4
     the time they were made.”
 5
           74.    The Recommendation Statement also provides that “Centerview assumed,
 6
     at the Company’s direction, that the [Fairness Projections] were reasonably prepared
 7
     on bases reflecting the best currently available estimates and judgments of the
 8
     management of the Company as to the matters covered . . .”
 9
           75.    However, both of these statements were materially false and misleading
10
     to the Company’s shareholders. Management, led by Defendants Holmes and
11
     McDermut, did not actually believe that the assumptions made in deriving the Fairness
12
     Projections were reasonable, nor that they reflected management’s best available
13
     estimates and judgments. In fact, during the Q3 2021 Earnings Call, only a month
14
     prior to management’s presentation of the Fairness Projections to the Board, Defendant
15
     Holmes reiterated a statement that he had been consistently touting for an entire year –
16
     that Resonant’s partnership with Murata alone could generate over $100 million in
17
     annual revenue for Resonant. Had the Fairness Projections been in line with Defendant
18
     Holmes’ public statements reflecting management’s true belief, the Fairness
19
   Projections would have been significantly higher.
20        E.    The Materially False and Misleading Recommendation Statement
21              Caused Resonant’s Shareholders Financial Harm
          76. The Offer Price represents inadequate compensation for the Company’s
22
   shareholders and does not reflect the fair value of their shares, especially when
23
   considering that the Fairness Projections represented downward-revisions to what
24
   management truly believed the Company was worth. Had the Fairness Projections
25
   reflected management’s true belief touted by Defendant Holmes—that a partnership
26
   with Murata alone had the ability to generate $100 million in annual revenue for
27
28                                        - 20 -
                                 CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 21 of 26 Page ID #:21




 1 Resonant—then the Fairness Projections would have been significantly higher,
 2 requiring a higher Offer Price to adequately compensate the Company’s shareholders.
 3        77.    Moreover, Centerview’s Analyst Price Target Analysis revealed that Wall
 4 Street research analyst price targets for the Company as of February 11, 2022, the last
 5 trading day prior to execution of the Merger Agreement, ranged from $5.00 to $6.25
 6 per share. Thus, the Offer Price of $4.50 per share falls well-below this range, which
 7 further indicates that the Offer Price undervalued Resonant shares.
 8        78.    Accordingly, the Offer Price received by the Company’s shareholders was
 9 unfair and inadequate, as the intrinsic value of their shares materially exceeded the
10 Offer Price. Furthermore, the materially misleading Recommendation Statement was
11 an essential link in the consummation of the unfair Tender Offer and the proximate
12 cause of the resulting economic loss that shareholders suffered. Indeed, the materially
13 false and misleading statements deceived shareholders as to the fair value of their
14 shares and caused them to accept the unfair Offer Price.
15                           CLASS ACTION ALLEGATIONS
16        79.    Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of
17 Civil Procedure, individually, and on behalf of the other former public stockholders of
18 Resonant who were harmed by Defendants’ actions described herein (the “Class”). The
19 Class specifically excludes Defendants herein, and any person, firm, trust, corporation
20 or other entity related to, or affiliated with, any of the Defendants.
21        80.    This action is properly maintainable as a class action because:
22                     (a)    The Class is so numerous that joinder of all members is
23 impracticable. As of the Expiration Time, there were in excess of 63 million shares of
24 Resonant common stock outstanding held by hundreds to thousands of individuals and
25 entities nationwide;
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28                                     - 21 -
                              CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 22 of 26 Page ID #:22




 1                      (b)   There are questions of law and fact that are common to the
 2 Class and predominate over any questions affecting only individual Class members,
 3 including, among others:
 4                               (i)    Whether Defendants have violated Sections 14(e)
 5                                      and 20(a) of the Exchange Act in connection with
 6                                      the Tender Offer; and
 7                               (ii)   Whether Plaintiff and the other members of the
 8                                      Class suffered damages as a result of the actions of
 9                                      Defendants complained of herein.
10                      (c)   Plaintiff is committed to prosecuting this action and has
11 retained competent counsel experienced in litigation of this nature, and will fairly and
12 adequately protect the interests of the Class;
13                      (d)   Plaintiff’s claims are typical of the claims of the other
14 members of the Class, and Plaintiff has the same interests as the other members of the
15 Class;
16                      (e)   Prosecution of separate actions by individual members of the
17 Class would create the risk of inconsistent or varying adjudications with respect to
18 individual members of the Class, which would establish incompatible standards of
19 conduct for the party opposing the Class;
20                      (f)   Defendants have acted, or refused to act, on grounds
21 generally applicable to the Class with respect to the matters complained of herein,
22 thereby making appropriate the relief sought herein with respect to the Class as a whole;
23 and
24                      (g)   A class action is superior to other available methods for fairly
25 and efficiently adjudicating the controversy.
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28                                      - 22 -
                               CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 23 of 26 Page ID #:23




 1                             FIRST CAUSE OF ACTION
             Claim for Violations of Section 14(e) of the Exchange Act Against
 2                                    All Defendants
 3         81.    Plaintiff repeats and realleges each allegation contained above as if fully
 4 set forth herein.
 5        82. Section 14(e) of the Exchange Act provides that it is unlawful “for any
 6 person to make any untrue statement of a material fact or omit to state any material fact
 7 necessary in order to make the statements made, in the light of the circumstances under
 8 which they are made, not misleading, or to engage in any fraudulent, deceptive, or
 9 manipulative acts or practices, in connection with any tender offer or request or
10 invitation for tenders, or any solicitation of security holders in opposition to or in favor
11 of any such offer, request, or invitation.” 15 U.S.C. § 78n(e).
12         83.    As discussed above, Resonant filed with the SEC and delivered the
13 Recommendation Statement to its stockholders, which Defendants knew contained
14 material misstatements, as set forth above.
15         84.    The Recommendation Statement was reviewed and disseminated by
16 Defendants. Defendants knew that the Recommendation Statement contained the
17 above-referenced materially false and misleading statements regarding the Fairness
18 Projections and the valuation ranges derived from the Fairness Projections.
19       85. Defendants made untrue statements of material facts, in violation of
20 Section 14(e) of the Exchange Act. By virtue of their positions within the Company
21 and/or roles in the process and in the preparation of the Recommendation Statement,
22 Defendants were aware the Recommendation Statement contained materially false and
23 misleading statements, and knew of their obligation to disclose truthful information in
24 the Recommendation Statement.
25       86. The misleading and untrue statements in the Recommendation Statement
26 are material in that a reasonable stockholder would consider them important in deciding
27 whether to tender their shares or seek appraisal.
28                                       - 23 -
                                CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 24 of 26 Page ID #:24




 1         87.   As a proximate result of the above-referenced material misstatements,
 2 Plaintiff and the Class suffered significant damages. Indeed, the false and misleading
 3 statements deceived shareholders regarding the fair value of their shares and the
 4 Company’s financial prospects and caused them to accept the unfair Offer Price.
 5         88.   Accordingly, Defendants are liable for violating Section 14(e) of the
 6 Exchange Act, and Plaintiff and the Class are entitled to recover damages in an amount
 7 to be determined at trial.
 8                            SECOND CAUSE OF ACTION
 9 Claim for Violations of Section 20(a) of the Exchange Act Against the Individual
                                          Defendants
10
          89. Plaintiff repeats and realleges each allegation contained above as if fully
11
   set forth herein.
12
          90. The Individual Defendants acted as controlling persons of Resonant
13
   within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue
14
   of their positions as officers and/or directors of Resonant, and participation in and/or
15
   awareness of the Company’s operations and/or intimate knowledge of the false and
16
   misleading statements contained in the Recommendation Statement filed with the SEC,
17
   they had the power to influence and control and did influence and control, directly or
18
   indirectly, the decision making of the Company, including the content and
19
   dissemination of the various statements which Plaintiff contends are false and
20
   misleading.
21
          91. Each of the Individual Defendants were provided with or had unlimited
22
   access to copies of the Recommendation Statement and other statements alleged by
23
   Plaintiff to be misleading prior to and/or shortly after these statements were issued and
24
   had the ability to prevent the issuance of the statements or cause the statements to be
25
   corrected.
26
          92. In particular, each of the Individual Defendants had direct and supervisory
27
   involvement in the day-to-day operations of the Company, and, therefore, is presumed
28                                           - 24 -
                               CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 25 of 26 Page ID #:25




 1 to have had the power to control or influence the particular transactions giving rise to
 2 the securities violations alleged herein, and exercised the same. The Recommendation
 3 Statement at issue contains the recommendation of Individual Defendant Holmes as a
 4 member of the Board and CEO, and of Individual Defendant McDermut as signatory
 5 of the Recommendation Statement in his capacity as CFO of Resonant. They were,
 6 thus, directly involved in the making of this document.
 7        93.    By virtue of the foregoing, the Individual Defendants have violated
 8 Section 20(a) of the Exchange Act.
 9        94.    As set forth above, the Individual Defendants had the ability to exercise
10 control over and did control Resonant, which violated Section 14(e) of the Exchange
11 Act by the acts alleged herein. By virtue of their positions as controlling persons, the
12 Individual Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a
13 direct and proximate result of the Individual Defendants’ conduct, Plaintiff and the
14 Class suffered damages, in an amount to be determined at trial.
15                                 RELIEF REQUESTED
16        WHEREFORE, Plaintiff prays for judgment and relief as follows:
17        A.     Declaring that this action is properly maintainable as a class action and
18 certifying Plaintiff as Class Representative and his counsel as Class Counsel;
19        B.    Awarding Plaintiff and the Class damages sustained as result of the
20 Defendants’ wrongdoing, including but not limited to compensatory damages,
21 rescissory damages, and quasi-appraisal damages, plus pre-judgment and post-
22 judgment interest;
23      C.     Awarding Plaintiff and the Class the costs and disbursements of this
24 action, including reasonable attorneys’ fees, experts’ fees, and expenses;
25       D.     Awarding extraordinary and/or equitable relief as permitted by law,
26 equity, and the federal statutory provisions sued hereunder; and
27
28                                      - 25 -
                               CLASS ACTION COMPLAINT
Case 2:22-cv-03403-FLA-AS Document 1 Filed 05/19/22 Page 26 of 26 Page ID #:26




 1        E.    Granting such other and further equitable relief as this Court may deem
 2 just and proper.
 3                                    JURY DEMAND
 4        Plaintiff demands a trial by jury.
 5
 6 DATED: May 19, 2022                         Respectfully Submitted,

 7 OF COUNSEL                                  MONTEVERDE & ASSOCIATES PC
 8
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28                                      - 26 -
                               CLASS ACTION COMPLAINT
